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 6
     Attorneys for Defendant
 7   WILLIAM JAMES FARBER
 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                             )   No. 1:17-cr-00188-LJO-SKO
12                                                         )
                                    Plaintiff,             )
13                                                         )
                                                           )   WAIVER OF DEFENDANT’S
14                            v.                           )   PERSONAL PRESENCE; ORDER
                                                           )   THEREON
15                                                         )
     WILLIAM JAMES FARBER,                                 )
16                                                         )
                                    Defendant.             )
17

18          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant William James Farber, having been

19   advised of his right to be present at all stages of the proceedings, hereby requests that this Court

20   proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.

21   Defendant agrees that his interests shall be represented at all times by the presence of his

22   attorneys of record the same as if Defendant were personally present, and requests that this court

23   allow his attorneys-in-fact to represent his interests at all times. Defendant further agrees that

24   notice to Defendant's attorney that Defendant's presence is required will be deemed notice to the

25   Defendant of the requirement of his appearance at said time and place.

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                                       WILLIAM FARBER RULE 43 WAIVER
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 1   DATED: September 25, 2017                                Respectfully submitted,

 2                                                            /s/ William James Farber
 3                                                            ________________________
                                                              WILLIAM JAMES FARBER
 4                                                            Defendant
                                                              (Original Signature in File)
 5

 6
     DATED: September 25, 2017                                Respectfully submitted,
 7                                                            KAPLAN MARINO, PC
 8                                                            /s/ Jennifer Lieser
 9                                                            ________________________
                                                              JENNIFER LIESER
10                                                            Attorney for Defendant
                                                              WILLIAM FARBER
11

12

13
                                                       ORDER
14
              GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
15
     appearance may be waived at any and all non-substantive pretrial proceedings pursuant to Fed.
16
     R. Crim. P. 43(b)(3) until further order of the court.
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19   IT IS SO ORDERED.
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21
     Dated:    October 2, 2017                                       /s/   Sheila K. Oberto   .
                                                           UNITED STATES MAGISTRATE JUDGE
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                                       WILLIAM FARBER RULE 43 WAIVER
